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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

 KERCHAI LeFLOR, individually and on Case No. 4:22-cv-00496
 behalf of all others similarly situated, FLSA Collective Action
                                          FED. R. CIV. P. 23 Class Action
 v.

 ASCENSION HEALTH ALLIANCE d/b/a
 ASCENSION and ASCENSION HEALTH
 d/b/a ASCENSION


          ORIGINAL CLASS AND COLLECTIVE ACTION COMPLAINT

                                         SUMMARY

                Like many other companies across the United States, Ascension Health

Alliance and Ascension Health’s (together, “Ascension”) timekeeping and payroll systems

were affected by the hack of Kronos in 2021.

                That hack led to problems in timekeeping and payroll throughout Ascension’s

organization.

                As a result, Ascension’s workers who were not exempt from overtime under

federal and state law were not paid for all hours worked and/or were not paid their proper

overtime premium on time, if at all, for all overtime hours worked after the onset of the

Kronos hack.

                Kerchai LeFlor is one such Ascension worker.

                Ascension could have easily implemented a system to accurately record time

and properly pay non-exempt hourly and salaried employees until issues related to the hack

were resolved.
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              But it didn’t. Instead, Ascension pushed the cost of the Kronos hack onto the

most economically vulnerable people in its workforce.

              Ascension made the economic burden of the Kronos hack fall on front-line

workers—average Americans—who rely on the full and timely payment of their wages to

make ends meet.

              After significant delay, Ascension made payment of some of these outstanding

wages. However, portions of these earned wages remain unpaid.

              Ascension’s failure to pay wages, including proper overtime, for all hours

worked violates the Fair Labor Standards Act (FLSA), 29 U.S.C. § 201 et seq.

              Ascension’s failure to pay wages, including proper overtime, for all hours

worked to its workers in Michigan also violates the Mighigan Workforce Opportunity Wage

Act (MWOWA), MICH. COMP. LAWS § 408.411 et seq.

              LeFlor brings this lawsuit to recover these unpaid overtime wages and other

damages owed by Ascension to her and Ascension’s other non-overtime-exempt workers, who

were the ultimate victims of not just the Kronos hack, but Ascension’s decision to make its

own non-exempt employees workers bear the economic burden for the hack.

              This action seeks to recover the unpaid wages and other damages owed by

Ascension to all these workers, along with the penalties, interest, and other remedies provided

by federal and Michigan law.

                                  JURISDICTION & VENUE

              This Court has original subject matter jurisdiction pursuant to 28 U.S.C. § 1331

because this action involves a federal question under the FLSA. 29 U.S.C. § 216(b).




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              The Court has supplemental jurisdiction over any state law sub-classes pursuant

to 28 U.S.C. § 1367.

              Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) because

Ascension is headquartered in this District.

                                          PARTIES

              Plaintiff Kerchai LeFlor is a natural person.

              LeFlor was, at all relevant times, an employee of Ascension.

              LeFlor has worked for Ascension since before December 2021.

              LeFlor worked for Ascension in Michigan.

              LeFlor represents at least two groups of similarly situated Ascension workers.

              LeFlor represents a collective of similarly situated workers under the FLSA

pursuant to 29 U.S.C. § 216(b). This “FLSA Collective” is defined as:

              All current or former non-exempt employees of Ascension (including
              its subsidiaries and alter egos), who worked in the United States at
              any time since the onset of the Kronos ransomware attack, on or
              about December 11, 2021, to the present.1

              LeFlor represents a class of similarly situated workers under Michigan law

pursuant to Federal Rule of Civil Procedure 23. This “Michigan Class” is defined as:

              All current or former non-exempt employees of Ascension (including
              its subsidiaries and alter egos) who worked in Michigan at any time
              since the onset of the Kronos ransomware attack, on or about
              December 11, 2021, to the present.

              Throughout this Complaint, the FLSA Collective members and Michigan

Class members are referred to jointly as the “Similarly Situated Workers.”



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  The FLSA Collective excludes those persons who opt-into or otherwise become a party
plaintiff in Anstead v. Sacred Heart Health System, Inc., No. 3:22-cv-02553-MCR-HTC (N.D.
Fla.).


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               Defendant Ascension Health Alliance d/b/a Ascension is a domestic

corporation.

               Ascension Health Alliance is headquartered in this District.

               Ascension Health Alliance may be served by service upon its registered agent,

CSC-Lawyers Incorporating Service Company, 221 Bolivar St., Jefferson City, MO 65101,

or by any other method allowed by law.

               Defendant Ascension Health d/b/a Ascension is a domestic corporation.

               Ascension Health is headquartered in this District.

               Ascension Health may be served by service upon its registered agent, CSC-

Lawyers Incorporating Service Company, 221 Bolivar St., Jefferson City, MO 65101, or by

any other method allowed by law.

               At all relevant times, Ascension Health Alliance has been doing business under

the assumed name, “Ascension.”

               At all relevant times, Ascension Health has been doing business under the

assumed name, “Ascension.”

               Throughout this Complaint, Ascension Health Alliance, Ascension Health,

and their subsidiaries and alter egos are referred to jointly as “Ascension.”

               Ascension operates medical facilities throughout the United States.

               The facilities operated by Ascension include, but are not limited to:

               •      Anatomi Imaging
               •      Ascension Calumet Medical Cetner
               •      Ascension DePaul Services
               •      Ascension Health
               •      Ascension Health SmartHealth
               •      Ascension Illinois
               •      Ascension Insurance, Inc.



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               •       Ascension Mercy Medical Center
               •       Ascension Michigan
               •       Ascension Providence
               •       Ascension Providence Rochester Hospital
               •       Ascension St. Elizabeth Hospital
               •       Ascension Via Christi
               •       Brighton Hospital
               •       Centro San Vicente
               •       Columbia St. Mary’s Hospital
               •       Lourdes Hospital
               •       Providence Healthcare Network
               •       Saint Agnes Hospital
               •       Saint Thomas Health
               •       Seton Family Hospitals
               •       Seton Medical Center
               •       St. John Health System
               •       St. John Providence Health System
               •       St. Vincent Health
               •       St. Vincent’s HealthCare
               •       St. Vincent’s Health System
               •       Via Christi Health

               At all relevant times, Ascension operated as an alter ego of its facilities.

               At all relevant times, Ascension’s facilities operated as its alter egos.

               At all relevant times, Ascension and its facilities operated as alter egos of one

another.

               At all relevant times, Ascension exerted operational control over each of these

facilities and any of its other facilites.

               At all relevant times, Ascension had the authority to set pay practices at each

of these facilities and any of its other facilites.

               At all relevant times, Ascension substantially controlled the terms and

conditions of employment for workers at each of these facilities and any of its other facilites.

               At all relevant times, Ascension had a common control and management of

labor relations regarding employees at each of these facilities and any of its other facilites.



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               At all relevant times, Ascension exerted operational control over its subsidiaries

and alter egos.

               At all relevant times, Ascension substantially controlled the terms and

conditions of employment for workers of its subsidiaries and alter egos.

               At all relevant times, Ascension had a common control and management of

labor relations regarding employees of its subsidiaries and alter egos.

               Ascension employed and/or jointly employed, with its subsidiaries and alter

egos, LeFlor and the Similarly Situated Workers.

               Ascension and its subsidiaries and alter egos are joint employers for purposes

of the FLSA.

               Ascension and its subsidiaries and alter egos are joint employers for purposes

of Michigan Law.

                                COVERAGE UNDER THE FLSA

               At all relevant times, Ascension was an employer of LeFlor within the meaning

of Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

               At all relevant times, Ascension was and is an employer of the FLSA Collective

Members within the meaning of Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

               Ascension was and is part of an enterprise within the meaning of Section 3(r)

of the FLSA, 29 U.S.C. § 203(r).

               During at least the last three years, Ascension has had gross annual sales in

excess of $500,000.

               Ascension was and is part of an enterprise engaged in commerce or in the

production of goods for commerce within the meaning of the FLSA, 29 U.S.C. § 203(s)(1).




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             Ascension employs many workers, including LeFlor, who are engaged in

commerce or in the production of goods for commerce and/or who handle, sell, or otherwise

work on goods or materials that have been moved in or produced for commerce by any person.

             The goods and materials handled, sold, or otherwise worked on by LeFlor and

other Ascension employees and that have been moved in interstate commerce include, but are

not limited to, medical equipment and suppplies.

                                          FACTS

             Ascension is a healthcare organization operating facilities across the unitd

states. Ascension, About, https://www.ascension.org/About (last visited May 2, 2022).

             Acsension provides clinical and network servies, ventur capital investing,

investment management, biomedical engineering, facilities management, risk management,

and contracting through its own group purchasing organization. Ascension, About,

https://www.ascension.org/About (last visited May 2, 2022).

             Many of Ascension’s employees are non-exempt hourly and salaried workers.

             Since at least 2021, Ascension has used timekeeping software and hardware

operated and maintained by Kronos.

             On or about December 11, 2021, Kronos was hacked with ransomware.

             The Kronos hack interfered with the ability of its customers, including

Ascension, to use Kronos’s software and hardware to track hours and pay employees.

             For at least a portion of time following the Kronos hack, Ascension failed to

keep accurate track of the hours that LeFlor and Similarly Situated Workers worked.

             Instead, Ascension has used various methods to estimate the number of hours

LeFlor and Similarly Situated Workers work in each pay period.




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              For example, Ascension issued paychecks based on scheduled hours or

estimated hours, or simply duplicated paychecks from pay periods prior to the Kronos hack.

              As a result of Ascension’s failure to accurately track the actual hours worked

each week, employees who were non-exempt and worked overtime were in many cases paid

less than the hours they worked in the workweek, including overtime hours.

              Many employees were not even paid for all their non-overtime wages for hours

worked in certain workweeks.

              LeFlor is one of the thousands of employees affected by these pay and

timekeeping practices.

              Instead of paying LeFlor for the hours she actually worked (including overtime

hours), Ascension simply paid based on estimates of time or pay, or based upon arbitrary

considerations other than LeFlor’s actual hours worked and regular pay rates, in multiple

workweeks.

              In properly calculating and paying overtime to a non-exempt employee, the

only metrics that are needed are: (1) the number of hours worked in a day or week, and (2)

the employee’s regular rate, taking into account shift differentials, non-discretionary bonuses,

and other factors allowed under the law.

              Ascension knows it has to pay proper overtime premiums to non-exempt hourly

and salaried employees.

              Ascension knows this because, prior to the Kronos hack, it routinely paid these

workers for all overtime hours at the proper overtime rates.

              Ascension could have instituted any number of methods to accurately track and

timely pay its employees for all hours worked.




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              Instead of accurately tracking hours and paying employees their overtime,

Ascension decided to arbitrarily pay these employees, without regard to the overtime hours

they worked or the regular rates at which they were supposed to be paid.

              It was feasible for Ascension to have its employees and managers report

accurate hours so they could be timely paid the full and correct amounts of money they were

owed for the work they did for the company.

              But Ascension chose not to do that.

              In other words, Ascension pushed the effects of the Kronos hack onto the backs

of its most economically vulnerable workers, making sure that it kept the money it owed to

those employees in its own pockets, rather than take steps to make sure its employees were

paid on time and in full for the work they did.

              LeFlor is just one of the many Ascension employees who had to shoulder the

burden of this decision by Ascension.

              LeFlor was a non-exempt hourly employee of Ascension.

              LeFlor regularly worked over 40 hours per week for Ascension.

              LeFlor’s normal, pre-Kronos hack hours are reflected in Ascension’s records.

              Since the Kronos hack, Ascension has not paid LeFlor on time, if at all, for her

actual hours worked each week.

              Since the hack took place, Ascension has not been accurately recording the

hours worked by LeFlor and its other workers.

              Even when Ascension has issued payment to LeFlor for any overtime, the

overtime is not calculated based on LeFlor’s regular rates, as required by federal law.

              Ascension was aware of the overtime requirements of the FLSA.




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               Ascension nonetheless failed to pay the full overtime premium owed to certain

non-exempt hourly and salaried employees, such as LeFlor.

               Ascension’s failure to pay overtime to these non-exempt workers was, and is, a

willful violation of the FLSA.

               The full overtime wages owed to LeFlor and the Similarly Situated Workers

became “unpaid” when the work for Ascension was done—that is, on LeFlor and the

Similarly Situated Workers’ regular paydays. E.g., Martin v. United States, 117 Fed. Cl. 611,

618 (2014); Biggs v. Wilson, 1 F.3d 1537, 1540 (9th Cir.1993); Cook v. United States, 855 F.2d

848, 851 (Fed. Cir. 1988); Olson v. Superior Pontiac–GMC, Inc., 765 F.2d 1570, 1579 (11th

Cir.1985), modified, 776 F.2d 265 (11th Cir.1985); Atlantic Co. v. Broughton, 146 F.2d 480, 482

(5th Cir.1944); Birbalas v. Cuneo Printing Indus., 140 F.2d 826, 828 (7th Cir.1944).

               At the time Ascension failed to pay LeFlor and the Similarly Situated Workers

in full for their overtime hours by their regular paydays, Ascension became liable for all

prejudcment interest, liquidated damages, penalties, and any other damages owed under the

law.

               In other words, there is no distinction between late payment and nonpayment

of wages under the law. Biggs v. Wilson, 1 F.3d 1537, 1540 (9th Cir.1993).

               Any payment made by Ascension to LeFlor or the Similarly Situated Workers

that Ascension may allege represents previously unpaid wages was not supervised by the

Department of Labor or any court.

               The untimely payment of overtime wages, in itself, does not resolve a claim for

unpaid wages under the law. See, e.g., Seminiano v. Xyris Enterp., Inc., 602 Fed.Appx. 682, 683

(9th Cir. 2015); Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1352-54 (11th Cir. 1982).




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                Nor does the untimely payment of wages, if any, compensate workers for the

damages they incurred due to Ascension’s acts and omissions resulting in the unpaid wages

in the first place.

                LeFlor and the Similarly Situtated Workers remain uncompensated for the

wages and other damages owed by Ascension under federal and Michigan law.

                              COLLECTIVE ACTION ALLEGATIONS

                LeFlor incorporates all other allegations.

                Numerous individuals were victimized by Ascension’s patterns, practices, and

policies, which are in willful violation of the FLSA.

                Based on her experiences and tenure with Ascension, LeFlor is aware that

Ascension’s illegal practices were imposed on the FLSA Collective.

                The FLSA Collective members were not paid their full overtime premiums on

time, if at all, for all overtime hours worked.

                These employees are victims of Ascension’s respective unlawful compensation

practices and are similarly situated to LeFlor in terms of the pay provisions and employment

practices at issue in the collective in this lawsuit.

                The workers in the FLSA Collective were similarly situated within the meaning

of the FLSA.

                Any differences in job duties do not detract from the fact that these FLSA non-

exempt workers were entitled to overtime pay.

                Ascension’s failure to pay overtime compensation at the rates required by the

FLSA result from generally applicable, systematic policies, and practices, which are not

dependent on the personal circumstances of the FLSA Collective members.




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                 The FLSA Collective should be notified of this action and given the chance to

join pursuant to 29 U.S.C. § 216(b).

                                  CLASS ACTION ALLEGATIONS

                 LeFlor incorporates all other allegations.

                 The illegal practices Ascension imposed on LeFlor were likewise imposed on

the Michigan Class members.

                 Numerous other individuals who worked for Ascension were were not properly

compensated for all hours worked, as required by Michigan law.

                 The Michigan Class is so numerous that joinder of all members of the class is

impracticable.

                 Ascension imposed uniform practices and policies on LeFlor and the Michigan

Class members regardless of any individualized factors.

                 Based on her experience and tenure with Ascension, as well as coverage of the

Kronos hack, LeFlor is aware that Ascension’s illegal practices were imposed on the Michigan

Class members.

                 Michigan Class members were all not paid their proper overtime on time, if at

all, when they worked in excess of 40 hours per week.

                 Ascension’s failure to pay wages and overtime compensation in accordance

with Michigan law results from generally applicable, systematic policies, and practices which

are not dependent on the personal circumstances of the Michigan Class members.

                 LeFlor’s experiences are therefore typical of the experiences of the Michigan

Class members.




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               LeFlor has no interest contrary to, or in conflict with, the members of the

Michigan Class. Like each member of the proposed class, LeFlor has an interest in obtaining

the unpaid wages and other damages owed under the law.

               A class action, such as this one, is superior to other available means for fair and

efficient adjudication of the lawsuit.

               Absent this action, many Michigan Class members likely will not obtain redress

of their injuries and Ascension will reap the unjust benefits of violating Michigan law.

               Furthermore, even if some of the Michigan Class members could afford

individual litigation against Ascension, it would be unduly burdensome to the judicial system.

               Concentrating the litigation in one forum will promote judicial economy and

parity among the claims of individual members of the classes and provide for judicial

consistency.

               The questions of law and fact common to each of the Michigan Class members

predominate over any questions affecting solely the individual members. Among the common

questions of law and fact are:

               a.     Whether the Michigan Class members were paid overtime at 1.5 times
                      their regular rate of pay for hours worked in excess of 40 in a workweek;

               b.     Whether Ascension’s failure to pay overtime at the rates required by law
                      violated Michigan’s wage and hour laws.

               LeFlor’s claims are typical of the Michigan Class members. LeFlor and the

Michigan Class members have all sustained damages arising out of Ascension’s illegal and

uniform employment policies.

               LeFlor knows of no difficulty that will be encountered in the management of

this litigation that would preclude its ability to go forward as a class or collective action.




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              Although the issue of damages may be somewhat individual in character, there

is no detraction from the common nucleus of liability facts. Therefore, this issue does not

preclude class or collective action treatment.

             FIRST CAUSE OF ACTION—OVERTIME VIOLATIONS OF THE FLSA
                      AS TO LEFLOR AND THE FLSA COLLECTIVE

               LeFlor incorporates all other allegations.

              By failing to pay LeFlor and the FLSA Collective members overtime at 1.5

times their regular rates when the payments were due, Ascension violated the FLSA. 29

U.S.C. § 207(a).

              Ascension owes LeFlor and the FLSA Collective members overtime for all

hours worked in excess of 40 in a workweek, at a rate of at least 1.5 times their regular rates

of pay.

              Likewise, Ascension owes LeFlor and the FLSA Collective members their

agreed-upon rates of pay for all hours worked up to and including 40 each week in which they

worked over 40 hours in the week, but were not paid in full for all hours.

              Ascension knowingly, willfully, or in reckless disregard carried out this illegal

pattern and practice of failing to pay the FLSA Collective members overtime compensation.

              Because Ascension knew, or showed reckless disregard for whether, its pay

practices violated the FLSA, Ascension owes these wages for at least the past three years.

              Ascension’s failure to pay overtime compensation to these FLSA Collective

members was neither reasonable, nor was the decision not to pay overtime made in good faith.

              Because Ascension’s decision not to pay overtime was not made in good faith,

Ascension also owes LeFlor and the FLSA Collective members an amount equal to the

unpaid overtime wages as liquidated damages.



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                Accordingly, LeFlor and the FLSA Collective members are entitled to their full

overtime wages under the FLSA in an amount equal to 1.5x their regular rates of pay, plus

liquidated damages, attorney’s fees, and costs.

                SECOND CAUSE OF ACTION— VIOLATIONS OF THE MWOWA
                       AS TO LEFLOR AND THE MICHIGAN CLASS

                LeFlor incorporates all other allegations.

                The conduct alleged in this Complaint violates the MWOWA. MICH. COMP.

LAWS § 408.411 et seq.

                At all relevant times, Ascension has been an “employer” within the meaning of

the MWOWA. MICH. COMP. LAWS § 408.412(d).

                At all relevant times, Ascension employed LeFlor and the Michigan Class

members as “employees” within the meaning of the MWOWA. MICH. COMP. LAWS

§ 408.412(e).

                The MWOWA requires an employer like Ascension to pay employees at a rate

no less than the minimum wage for each hour worked. MICH. COMP. LAWS §§ 408.413,

408.414.

                As a result of Ascension’s failure to pay LeFlor and the Michigan Class at a

rate no less than the minimum wage for all hours worked, Ascension violated the MWOWA.

                The MWOWA requires an employer like Ascension to pay overtime to all non-

exempt employees. MICH. COMP. LAWS §§ 408.413, 408.414a(a).

                LeFlor and the other Michigan Class members are non-exempt employees who

are entitled to be paid overtime for all hours worked over 40 in a workweek at a rate of no less

than 1.5x their regular rate. MICH. COMP. LAWS § 408.414(a).




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                Within the applicable limitations period, Ascension had a policy and practice

of failing to pay proper overtime to LeFlor and the Michigan Class members for their hours

worked in excess of 40 hours per week.

                As a result of Ascension’s failure to pay proper overtime to LeFlor and the

Michigan Class members for work performed in excess of 40 hours in a workweek, Ascension

violated the MWOWA.

                The MWOWA requires an employer like Ascension to make and provide

employees with accurate wage statements each pay period. MICH. COMP. LAWS § 408.417.

                Within the applicable limitations period, Ascension had a policy and practice

of failing to make and provide accurate wage statements required by the MWOWA.

                As a result of Ascension’s failure to pay proper overtime to keep the records

required by the MWOWA, Ascension violated the MWOWA.

                LeFlor and the Michigan Class members are entitled to recover their unpaid

wages, liquidated damages in an amount equal to unpaid wages, attorneys’ fees, costs, and all

other legal and equitable relief provided under the MWOWA. MICH. COMP. LAWS

§ 408.419(a).

                                         JURY DEMAND

                LeFlor demands a jury trial on all issues.

                                        RELIEF SOUGHT

       LeFlor prays for judgment against Ascension as follows:

                a.     For an order certifying a collective action for the FLSA claims;

                b.     For an order certifying a class action for the Michigan law claims;

                c.     For an order finding Ascension liable for violations of federal wage laws
                       with respect to LeFlor and all FLSA Collective members covered by this
                       case;



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           d.    For an order finding Ascension liable for violations of Michigan wage
                 laws with respect to LeFlor and all Michigan Class members covered by
                 this case;

           e.    For a judgment awarding all unpaid wages, liquidated damages, and
                 penalties under federal wage laws to LeFlor and all FLSA Collective
                 members covered by this case;

           f.    For a judgment awarding all unpaid wages, liquidated damages, and
                 penalties under Michigan wage laws to LeFlor and all Michigan Class
                 members covered by this case;

           g.    For an equitable accounting and restitution of wages due to LeFlor and
                 all FLSA Collective and Michigan Class members members covered by
                 this case;

           h.    For a judgment awarding attorneys’ fees to LeFlor and all FLSA
                 Collective and Michigan Class members covered by this case;

           i.    For a judgment awarding costs of this action to LeFlor and all FLSA
                 Collective and Michigan Class members covered by this case;

           j.    For a judgment awarding pre- and post-judgment interest at the highest
                 rates allowed by law to LeFlor and all FLSA Collective and Michigan
                 Class members covered by this case; and

           k.    For all such other and further relief as may be necessary and
                 appropriate.

                                     Respectfully submitted,

                                            /s/ Matthew S. Parmet
                                     By: _____________________________
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